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LlVlNGSTON ASSET MANAGEMENT, LLC

Plaintif`f * UNlTED STATES DlSTRlCT COURT
v. * FOR

QUANTUMSPHERE, INC. * THE DISTRICT OF MARYLAND
Defendant * NORTHERN DIVISlON

* CIVIL ACTION NO. l:lS-cv-02003-DKC

* * * * * * * * * * * * *

ORDER GRANTING APPROVAL OF SE'I`TLEMENT AGREEMENT AND STIPULAT|ON

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This matter having come on for a hearing on the i z day of ip , 2018,

to approve the Settlement Agreement entered into as of June 25, 2018, between Plaintiff,
Livingston Asset Management, LLC (“Plaintiff”) and Defendant, QuantumSphere, Inc..
("‘Defendant” and collectively with Plaintit’f, the “Parties”), and the Court having held a hearing as
to the fairness of the terms and conditions of the Settlement Agreement and Stipulation and being
otherwise fully advised in the premises, the Court hereby finds as follows:

The Court has been advised that the Parties intend that the sale of the Shares (as defined
by the Settlement Agreement and_. hereinaher, the “Shares”) to and the resale of the Shares by
Plaintif`f` in the United States, assuming satisfaction of all other applicable securities laws and
regulations, will be exempt from registration under the Securities Act of 1933 (the “Securities
Act”) in reliance upon Section 3(a)(l 0) of the Securities Act based upon this Court’s finding herein
that the terms and conditions of the issuance of the Shares by Defendant to Plaintiff are fair to

Plaintif`f;

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The hearing having been scheduled upon the consent of Plaintiff` and Defendant, Plaintif`f
has had adequate notice of the hearing and Plaintiff is the only party to whom Shares will be issued
pursuant to the Settlement Agreement;

The terms and conditions of the issuance of the Shares in exchange for the release of certain
claims as set forth in the Settlement Agreement are fair to Plaintif`f, the only party to whom the
Shares will be issued;

The fairness hearing was open to Plaintiff`. Plaintif‘f was represented by counsel at the
hearing who acknowledged that adequate notice of the hearing was given and consented to the
entry of this Order.

lt is hereby ORDERED AND ADJUDGED that the Settlement Agreement and Stipulation
is hereby approved as fair to the party to whom the Shares will be issued, within the meaning of
Section 3(a)(10) of the Securities Act and that the sale of the Shares to Plaintiff and the resale of
the Shares in the United States by Plaintiff, assuming satisfaction of all other applicable securities
laws and regulations, will be exempt from registration under the Securities Act of 1933. The
Settlement Agreement and Stipulation entered into between the parties is hereby approved and the
parties are ordered to comply with same. The United States District Court for the District of
Maryland, Northem Division reserves jurisdiction over the parties to this action as well as the
subject matter herein for purposes of contempt and enforcement of the Settlement Agreement and

Stipu|ation as well as for such other purposes as allowed by law.

so oaoskso,this |§T;yof W ,2018.

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